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MADELEINE GARZA,

Vv.

NATIONAL RAILROAD PASSENGER
CORPORATION, d/b/a AMTRAK

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

CASE NO. C18-5106 BHS

Plaintiff, VERDICT FORM

Defendant.

CASE NO. C18-5106BHS

 

 

 

 

 
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We, the jury, answer the questions submitted by the Court as follows:
What do you unanimously find to be Madeleine Garza’s damages:
Past and Future Non-Economic Damages $ 4 = Tar | \ Ovwe

Sign this verdict form and notify Gretchen.

Nov. 13,.7.019 __

Date rresagiy Juror (
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